                                                              United States Bankruptcy Court
                                                               Northern District of Alabama
In re:                                                                                                                 Case No. 22-80387-CRJ
Tyler Carter                                                                                                           Chapter 7
Emalie Carter
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1126-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 10, 2022                                               Form ID: 309A                                                             Total Noticed: 35
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 12, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Tyler Carter, Emalie Carter, 3424 Co Rd. 8, Woodville, AL 35776-7221
tr                     + Judith Thompson, P. O. Box 18966, Huntsville, AL 35804-8966
10832411               + 1st Franklin Financial, 24833 John T. Reid Pkwy, Suite 3-B, Scottsboro, AL 35768-2343
10832386                 1st Franklin Financial, P.O. Box 229, Trussville, AL 35173
10832412               + Alteon Health, 12420 Milestone Center Drive, Suite 200, Germantown, MD 20876-7111
10832413               + C. Howard Grisham, P.O. Box 5585, Huntsville, AL 35814-5585
10832399               + Lendmark Financial, P.O. Box 2969, Covington, GA 30015-7969
10832401               + New Hope Electric Co-op, 5415 Main Dr., New Hope, AL 35760-9758
10832402                 North Alabama Electric Co-op, 41103 US-72, Stevenson, AL 35772
10832403               + PNC Bank, P.O. Box 5580, Cleveland, OH 44101-0580
10832385               + Prime Funding, Inc., 4081 Hwy 431 S, Albertville, AL 35950-0244
10832404                 Rachel Peterson MD, 4810 Whitesport Circle SE, #215, Huntsville, AL 35801
10832414               + Redstone Federal Credit Union, P.O. Box 5347, Huntsville, AL 35814-5347
10832406               + Scottsboro Electric Power Board, 404 E Willow St., Scottsboro, AL 35768-1904
10832408               + Sun Loan Company #268, 201 Veterans Dr., Ste 105, Scottsboro, AL 35768-2168

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: john@jlarsenlaw.com
                                                                                        Mar 10 2022 23:32:00      John C. Larsen, Larsen Law, P.C., 1733
                                                                                                                  Winchester Rd, Huntsville, AL 35811
smg                    + Email/Text: bnc_notices_northern@alnba.uscourts.gov
                                                                                        Mar 10 2022 23:33:00      Richard Blythe, BA Decatur, P O Box 3045,
                                                                                                                  Decatur, AL 35602-3045
10832384                  EDI: PHINAMERI.COM
                                                                                        Mar 11 2022 08:01:00      Americredit Financial Services, 200 Bailey Ave.,
                                                                                                                  Fort Worth, TX 76107
10832413               + Email/Text: pcornelius@grishamcummins.com
                                                                                        Mar 10 2022 23:33:00      C. Howard Grisham, P.O. Box 5585, Huntsville,
                                                                                                                  AL 35814-5585
10832387               + EDI: CCS.COM
                                                                                        Mar 11 2022 08:00:00      CCS Collections, 725 Canton Street, Norwood,
                                                                                                                  MA 02062-2679
10832389               + Email/Text: bk@creditcentralllc.com
                                                                                        Mar 10 2022 23:33:00      Credit Central, 700 E North St., Ste 15, Greenville,
                                                                                                                  SC 29601-3013
10832390               + Email/Text: operationsclerk@easypayfinance.com
                                                                                        Mar 10 2022 23:32:00      Duvera Billing Services, LLC, 1959 Palomar Oaks
                                                                                                                  Way, Ste 340, Carlsbad, CA 92011-1313
10832391               + Email/PDF: acg.exeter.ebn@aisinfo.com
                                                                                        Mar 10 2022 23:38:51      Exeter Finance, 102 West John Carpenter Fwy,
                                                                                                                  Irving, TX 75039-2001
10832392                  Email/Text: corporatecredit@farmersfurniture.com
                                                                                        Mar 10 2022 23:33:00      Farmers Furniture, P.O. Box 1140, Dublin, GA
                                                                                                                  31040




            Case 22-80387-CRJ7 Doc 10 Filed 03/12/22 Entered 03/12/22 23:33:26                                                                   Desc
                              Imaged Certificate of Notice Page 1 of 4
District/off: 1126-8                                               User: admin                                                             Page 2 of 2
Date Rcvd: Mar 10, 2022                                            Form ID: 309A                                                         Total Noticed: 35
10832394              + Email/Text: bankruptcies@foxcollection.com
                                                                                   Mar 10 2022 23:33:00      Fox Collection Center, PO Box 528,
                                                                                                             Goodlettsville, TN 37070-0528
10832395                 Email/Text: chstephens@jchca.org
                                                                                   Mar 10 2022 23:32:00      Highlands Medical Center, 380 Woods Cove Rd.,
                                                                                                             Scottsboro, AL 35768
10832396              + Email/Text: bankruptcyemails@hollowaycredit.com
                                                                                   Mar 10 2022 23:33:00      Holloway Credit Solutions LLC, 1286 Carmichael
                                                                                                             Way, Montgomery, AL 36106-3645
10832397              + Email/Text: pa.customerservice@hhsys.org
                                                                                   Mar 10 2022 23:34:00      Huntsville Hospital, 101 Sivley Rd, Huntsville, AL
                                                                                                             35801-4470
10832398                 EDI: JEFFERSONCAP.COM
                                                                                   Mar 11 2022 07:59:00      Jefferson Capital Systems LLC, 16 McLeland Rd.,
                                                                                                             Saint Cloud, MN 56303
10832400                 Email/Text: sheri@masinc.org
                                                                                   Mar 10 2022 23:33:00      Merchants Adjustment, 56 N. Florida St., Mobile,
                                                                                                             AL 36607
10832405              + Email/Text: Bankruptcy@redfcu.org
                                                                                   Mar 10 2022 23:33:00      Redstone FCU, Attn: Bankruptcy Dept, 220 Wynn
                                                                                                             Drive, Huntsville, AL 35893-0001
10832388                 Email/Text: smbk@heightsfinance.com
                                                                                   Mar 10 2022 23:32:00      Covington Credit, 1527 S Broad St., Scottsboro,
                                                                                                             AL 35768
10832407              + Email/Text: Bankruptcy.Noticing@Security-Finance.com
                                                                                   Mar 10 2022 23:33:00      Security Finance, P.O. Box 3146, Spartanburg, SC
                                                                                                             29304-3146
10832415              + Email/Text: Bankruptcy.Noticing@Security-Finance.com
                                                                                   Mar 10 2022 23:33:00      Security Finance, 110 S Market St., Scottsboro,
                                                                                                             AL 35768-1805
10832409                 EDI: WSBC
                                                                                   Mar 11 2022 08:03:00      W.S Badcock Corporation, P.O Box 232,
                                                                                                             Mulberry, FL 33860
10832410              + EDI: WABK.COM
                                                                                   Mar 11 2022 08:03:00      World Finance, 108 Frederick Street, Greenville,
                                                                                                             SC 29607-2532

TOTAL: 21


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
10832393        ##+           First Credit Corp, 4909 Pearl East Circle, Suite 200, Boulder, CO 80301-2499

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 12, 2022                                          Signature:         /s/Joseph Speetjens




            Case 22-80387-CRJ7 Doc 10 Filed 03/12/22 Entered 03/12/22 23:33:26                                                            Desc
                              Imaged Certificate of Notice Page 2 of 4
Information to identify the case:
Debtor 1               Tyler Carter                                                     Social Security number or ITIN        xxx−xx−1711
                       First Name    Middle Name      Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2               Emalie Carter                                                    Social Security number or ITIN        xxx−xx−6523
(Spouse, if filing)
                       First Name    Middle Name      Last Name                         EIN    _ _−_ _ _ _ _ _ _
UNITED STATES BANKRUPTCY COURT                              NORTHERN DISTRICT OF
ALABAMA, NORTHERN DIVISION                                                              Date case filed for chapter 7 3/9/22
Case number:          22−80387−CRJ7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                       About Debtor 1:                              About Debtor 2:

1.      Debtor's full name                             Tyler Carter                                 Emalie Carter

2.      All other names used in the                    aka Franklin Carter
        last 8 years

3.     Address                                         3424 Co Rd. 8                                3424 Co Rd. 8
                                                       Woodville, AL 35776                          Woodville, AL 35776

4.     Debtor's attorney                               John C. Larsen                               Contact phone 256 859−3008
                                                       Larsen Law, P.C.
       Name and address                                1733 Winchester Rd                           Email: john@jlarsenlaw.com
                                                       Huntsville, AL 35811

5.     Bankruptcy trustee                              Judith Thompson                               Contact phone 256 880−2217
                                                       P. O. Box 18966
       Name and address                                Huntsville, AL 35804

6.     Bankruptcy clerk's office                       400 Well Street                               Hours open: 8:00 a.m. − 4:00 p.m.
                                                       P. O. Box 2775                                Monday−Friday
       Documents in this case may be filed at          Decatur, AL 35602
       this address. You may inspect all                                                             Contact phone 256−584−7900
       records filed in this case at this office or                                                  Date: 3/10/22
       online at https://pacer.uscourts.gov.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




       Case 22-80387-CRJ7 Doc 10 Filed 03/12/22 Entered 03/12/22 23:33:26                                                         Desc
                         Imaged Certificate of Notice Page 3 of 4
Debtor Tyler Carter and Emalie Carter                                                                                    Case number 22−80387−CRJ7




7. Meeting of creditors                       April 8, 2022 at 09:15 AM                                                  Telephone Conference:
    Debtors must attend the meeting to be                                                                                877−336−1829
    questioned under oath. In a joint case,   The meeting may be continued or adjourned to a later                       Access Code:
    both spouses must attend. Creditors       date. If so, the date will be on the court docket.                         2434017#
    may attend, but are not required to do
    so.
                                              DO NOT COME TO THE COURTHOUSE. This meeting
                                              will take place by telephone only until further notice. At
                                              least five minutes prior to the start of the meeting, dial the
                                              telephone number and enter the access code. There is
                                              no security code. Once connected, please mute your
                                              phone until the case is called and disconnect when
                                              notified your meeting is completed. You are encouraged
                                              to call from a landline if possible from a quiet location. Do
                                              not use a speaker function or place the call on hold.
                                              Debtor(s) is encouraged to contact your attorney prior to
                                              the meeting for more information.

8. Presumption of abuse                       The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                  File by the deadline to object to discharge                                Filing deadline: 6/7/22
    The bankruptcy clerk's office must        or to challenge whether certain debts are
    receive these documents and any           dischargeable:
    required filing fee by the following
    deadlines.                                You must file a complaint:
                                               • if you assert that the debtor is not entitled to receive
                                                 a discharge of any debts under any of the subivisions of
                                                 11 U.S.C. § 727(a)(2) through (7),
                                                 or
                                              • if you want to have a debt excepted from discharge under
                                                 11 U.S.C § 523(a)(2), (4), or (6).
                                              You must file a motion:
                                              • if you assert that the discharge should be denied
                                                 under § 727(a)(8) or (9).


                                              Deadline to object to exemptions:                                          Filing deadline: 30 days after
                                              The law permits debtors to keep certain property as exempt. If you         the conclusion of the meeting of
                                              believe that the law does not authorize an exemption claimed, you          creditors
                                              may file an objection.


10. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If it
                                              later appears that assets are available to pay creditors, the clerk will send you another notice telling you that
    Please do not file a proof of claim       you may file a proof of claim and stating the deadline.
    unless you receive a notice to do so.


11. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                              distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                              the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not
                                              authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                              receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 2




       Case 22-80387-CRJ7 Doc 10 Filed 03/12/22 Entered 03/12/22 23:33:26                                                                       Desc
                         Imaged Certificate of Notice Page 4 of 4
